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 4
 5   Attorney for Defendant
            Ricardo Salas
 6
 7
 8                          IN THE UNITED STATES DISTRICT COURT
 9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,           )                 Case No. CR-S-04-381-FCD
                                         )
12                     Plaintiff,        )                 STIPULATION FOR CONTINUANCE;
     v.                                  )                 ORDER ON EXCLUSION OF TIME
13                                       )
     MIGUEL ANGEL SANCHEZ, et al.,       )
14                                       )
                       Defendant.        )                 Date: August 29, 2005
15   ____________________________________)                 Time: 9:30 a.m.
                                                           Judge: Honorable Frank C. Damrell
16
17          IT IS HEREBY STIPULATED by and between the parties hereto through their respective
18   counsel, SAMUEL WONG, Assistant United States Attorney, attorney for Plaintiff, MARK J.
19   REICHEL, CHRIS HAYDN-MYER, ESQ., JESSE S. ORTIZ III, ESQ., attorneys for defendants
20   Miguel Angel Sanchez, Ricardo Salas, Oscar Canizales, that the previously scheduled change of
21   plea hearing date of August 29, 2005 be vacated and the matter set for change of plea on
22   September 26, 2005 at 9:30 a.m.
23          This continuance is requested because counsel for Ricardo Salas needs additional time to
24   review discovery with the defendant, conduct legal research, perform background factual
25   investigation, and properly prepare for a potential change of plea for his client who is non-
26   English speaking.
27          Accordingly, all counsel and the defendants agree that time under the Speedy Trial Act
28   from the date this stipulation is lodged, through September 26, 2005, should be excluded in
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 1   computing the time within which trial must commence under the Speedy Trial Act, pursuant to
 2   Title 18 U.S.C. § 3161 (h) (8) (B) (iv) and Local Code T4.
 3   Dated: August 30, 2005                                  /s/ Jesse S. Ortiz III
                                                            JESSE S. ORTIZ III
 4                                                          Attorney for Defendant
 5                                                          /s/ Jesse S. Ortiz III
                                                            MARK J. REICHEL
 6                                                          Assistant Federal Defender
                                                            Attorney for Defendant
 7
                                                            /s/ Jesse S. Ortiz III
 8                                                          CHRISTOPHER HAYDN-MYER
                                                            Attorney for Defendant
 9
                                                            /s/ Jesse S. Ortiz III
10                                                          SAMUEL WONG
                                                            Assistant U.S. Attorney
11                                                          Attorney for Plaintiff
12
                                                   ORDER
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            The Court having received, read, and considered the stipulation of the parties, and good
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     cause appearing therefrom, the Court adopts the stipulation of the parties in its entirety as its
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     order. The Court finds that the failure to grant a continuance in this case would deny Salas'
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     counsel reasonable time necessary for effective preparation, taking into account the exercise of
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     due diligence. The Court specifically finds that the ends of justice served by the granting of such
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     continuance outweigh the interests of the public and the remaining defendants in a speedy trial.
20
     Therefore, time from August 30, 2005, through and including September 26, 2005 is excluded
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     from computation of time within which the trial of this case must be commenced, pursuant to 18
22
     U.S.C § 3161 (h) (8) (B) (iv) and Local Code T4 for the reasons stated in the parties' stipulation.
23
            IT IS SO ORDERED.
24
25
     Dated: September 1, 2005                                       /s/ Frank C. Damrell Jr.
26                                                                  FRANK C. DAMRELL, JR.
                                                                    United States District Judge
27
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